                              Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 1 of 15




                       1 Marc Fenster
                           mfenster@raklaw.com
                       2 Reza Mirzaie
                       3 rmirzaie@raklaw.com
                           Brian Ledahl
                       4   bledahl@raklaw.com
                           Ben Wang
                       5   bwang@raklaw.com
                           Paul Kroeger
                       6   pkroeger@raklaw.com
                           Neil A. Rubin
                       7
                           nrubin@raklaw.com
                       8   James S. Tsuei
                           jtsuei@raklaw.com
                       9   Philip Wang
                           pwang@raklaw.com
                      10   Amy Hayden
                      11   ahayden@raklaw.com
RUSS AUGUST & KABAT




                           Jason M. Wietholter
                      12   jwietholter@raklaw.com
                           Kristopher Davis
                      13   kdavis@raklaw.com
                           Dale Chang
                      14   dchang@raklaw.com
                      15   RUSS AUGUST & KABAT
                           12424 Wilshire Boulevard, 12th Floor
                      16   Los Angeles, California 90025
                           Telephone: (310) 826-7474
                      17   Facsimile: (310) 826-9226
                      18
                         Attorneys for Plaintiff,
                      19 Headwater Research LLC
                      20                             UNITED STATES DISTRICT COURT
                      21                           NORTHERN DISTRICT OF CALIFORNIA

                      22     HEADWATER RESEARCH LLC,                       Case No. 5:23-cv-04496
                      23                                 Plaintiff,        COMPLAINT FOR PATENT
                      24                                                   INFRINGEMENT
                                    v.
                      25                                                   Jury Trial Demanded
                             MOTOROLA MOBILITY LLC, LENOVO
                      26     (UNITED STATES) INC., AND LENOVO
                             GROUP LTD.,
                      27
                      28                                 Defendants.   1
                                                                                      COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                       Case No. 5:23-cv-04496
                              Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 2 of 15




                       1      Plaintiff Headwater Research LLC (“Headwater”) hereby files this complaint against

                       2 Defendants Motorola Mobility LLC, Lenovo (United States) Inc., and Lenovo Group Ltd.
                       3 (collectively, “Defendants” or “Motorola”), alleging infringement of U.S. Patent Nos. 9,198,076
                       4 and 10,749,700. The Accused Instrumentalities are mobile electronic devices, including mobile
                       5 phones and tablets used, made, offered for sale, sold, and/or imported by Defendants in the United
                       6 States and supplied by Defendants to customers in the United States.
                       7                                           BACKGROUND

                       8          1.      This complaint arises from Defendants’ infringement of the following United States

                       9 patents owned by Headwater, each of which relate to wireless communications technology: United
                      10 States Patent Nos. 9,198,076 (“the ’076 patent”), and 10,749,700 (“the ’700 patent”), (collectively,
                      11 the “Asserted Patents”).
RUSS AUGUST & KABAT




                      12          2.      Dr. Gregory Raleigh—the primary inventor of the Asserted Patents—is a world-

                      13 renowned scientist, inventor, and entrepreneur, with over 25 years of executive experience in several
                      14 technology sectors including networking, cloud software, consumer services, wireless and military
                      15 systems. Dr. Raleigh holds Ph.D. and Masters degrees in Electrical Engineering from Stanford
                      16 University, and a BS in Electrical Engineering from Cal Poly San Luis Obispo. He is the inventor of
                      17 over 350 issued U.S. and international patents in several fields including radio systems and
                      18 components, radar, mobile operating systems, cloud services, IoT, networking, consumer electronics,
                      19 radiation beam cancer therapy and medical imaging.
                      20          3.      Dr. Raleigh has a long and distinguished record of significant contributions and

                      21 advancements in wireless communications technology. His inventions, companies, and products have
                      22 profoundly and positively impacted virtually every aspect of the mobile device and communications
                      23 market. In 2005, Dr. Raleigh was named one of the “50 most powerful people in networking” because
                      24 of his discoveries in wireless communications technology, and his work in multiplying the capacity
                      25 of a radio link using multiple transmission and receiving antennas to exploit multipath propagation
                      26 was described as the “most important wireless technology in the works.” See
                      27
                      28                                                    2
                                                                                            COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                             Case No. 5:23-cv-04496
                              Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 3 of 15




                       1 https://www.networkworld.com/article/2316916/the-50-most-powerful-people-in-
                       2 networking.html?page=2.
                       3          4.      In 1996, while at Stanford University, Dr. Raleigh presented the first mathematical

                       4 proof demonstrating that multiple antennas may be used with special signal processing techniques to
                       5 transmit multiple data streams at the same time and on the same frequency while in the presence of
                       6 naturally occurring multipath propagation. Dr. Raleigh’s work at Stanford has been widely adopted in
                       7 modern multiple-input and multiple-output (“MIMO”) radio communication and implemented in
                       8 major      wireless    communication      standards     including    4G     and      5G.     See,      e.g.,

                       9 https://en.wikipedia.org/wiki/Gregory_Raleigh.
                      10          5.      Dr. Raleigh’s groundbreaking work solved problems that had existed in wireless

                      11 communication since the late 1800s and overturned a century of research and practice in the fields of
RUSS AUGUST & KABAT




                      12 radio science and wireless communication theory. His work revealed that a new class of MIMO signal
                      13 processing architectures would allow wireless devices to transmit multiple data streams at the same
                      14 time on the same frequency thereby multiplying the information-carrying capacity of wireless
                      15 networks.
                      16          6.      Based on his discoveries, Dr. Raleigh co-founded Clarity Wireless to develop smart

                      17 antenna products incorporating the advances of his MIMO signal processing architecture, and
                      18 obtained patents now used in 4G and 5G cellular and Wi-Fi standards. Field trials of the smart antennas
                      19 developed by Clarity Wireless demonstrated performance significantly above anything else
                      20 contemplated at the time and continue to set standards for multipath broadband wireless access links.
                      21 Shortly after those field trials, Cisco acquired Clarity in 1998 and hired Dr. Raleigh to continue to
                      22 commercialize these technologies.
                      23          7.      After leaving Cisco, Dr. Raleigh founded Airgo Networks to develop the world’s first

                      24 MIMO wireless chipsets, networking software, reference design systems and commercial OEM
                      25 products. Airgo Networks’s chipset products significantly improved the speed and reliability of Wi-
                      26 Fi, leading to the adoption of its technology as the core of Wi-Fi radio standards since 2006, and
                      27 adoption of the chipsets into products sold across the globe. In 2006, Qualcomm acquired Airgo
                      28                                                     3
                                                                                              COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                               Case No. 5:23-cv-04496
                              Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 4 of 15




                       1 Networks and hired Dr. Raleigh to continue to commercialize these technologies. The Airgo team at
                       2 Qualcomm spearheaded the creation of Wi-Fi standards and developed the first Qualcomm Wi-Fi
                       3 chips for cell phones.
                       4          8.      Dr. Raleigh’s innovations at Clarity Wireless, Cisco, Airgo Networks, and Qualcomm,

                       5 resulted in the widespread adoption of his technologies in a multitude of cellular and Wi-Fi standards,
                       6 such as LTE, WiMAX, 802.11n, 802.11ac (Wi-Fi 5), as well as 802.11ax (Wi-Fi 6).
                       7          9.      After successfully founding and selling Clarity Wireless and Airgo Networks to Cisco

                       8 and Qualcomm, respectively, Dr. Raleigh shifted his focus from solving radio-centric problems to
                       9 solving problems in how wireless services are provided to consumers. Dr. Raleigh foresaw significant
                      10 data demand problems presented by the advent and adoption of smartphones. He sought to solve these
                      11 data demand problems by improving end-user wireless devices and the services that support them.
RUSS AUGUST & KABAT




                      12          10.     In 2008, Dr. Raleigh formed Headwater to develop mobile operating systems and

                      13 cloud technology, which today, underpin the mobile phone and app industries. The patents in this
                      14 action describe and claim some of the extraordinary inventions developed by Dr. Raleigh and the
                      15 Headwater team.
                      16          11.     Smartphones and other mobile devices have become ubiquitous and inseparable

                      17 components of our daily lives, allowing us to make and receive phone calls, get notifications,
                      18 download music, upload photos, stream entertainment, transact business, exchange ideas, and keep us
                      19 connected to our family and friends whether they are down the hall or around the globe. Users can get
                      20 email, install apps, and browse the internet from these tiny devices by making use of data connectivity
                      21 services. These devices accomplish these amazing feats by exchanging staggering amounts of data
                      22 over the internet using wireless and cellular networks, relying on ubiquitous data connectivity to keep
                      23 users up-to-date and connected.
                      24          12.     Since 2011, mobile device data demand has exploded—increasing by almost 400%—

                      25 with each user consuming approximately 11.5 gigabytes of data per month. In the aggregate, this
                      26 equates to approximately 90 exabytes of data consumption per month. See, e.g.,
                      27 https://www.ericsson.com/en/reports-and-papers/mobility-report/mobility-
                      28                                                     4
                                                                                              COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                               Case No. 5:23-cv-04496
                              Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 5 of 15




                       1 visualizer?f=9&ft=2&r=1&t=11,12,13,14,15,16,17&s=4&u=3&y=2011,2027&c=3. For context: a
                       2 single exabyte of data is equivalent to one billion gigabytes of data. Said another way, if one gigabyte
                       3 is the size of the Earth, then an exabyte is the size of the sun. See, e.g.,
                       4 https://www.backblaze.com/blog/what-is-an-exabyte/.
                       5          13.     And mobile device data demand shows no sign of slowing down. Between now and

                       6 2027, mobile data demand is projected to increase more than three-fold, from 90 exabytes per month
                       7 to a staggering 282 exabytes per month, with each user consuming an average of 41 gigabytes of
                       8 data each and every month. See, e.g., https://www.ericsson.com/en/reports-and-papers/mobility-
                       9 report/mobility-calculator?up=2&bp=1&v=0&c=2; https://www.ericsson.com/en/reports-and-
                      10 papers/mobility-report/mobility-
                      11 visualizer?f=9&ft=2&r=1&t=11,12,13,14,15,16,17&s=4&u=3&y=2011,2027&c=3.
RUSS AUGUST & KABAT




                      12
                      13
                      14
                      15
                      16
                      17
                      18
                      19
                      20
                      21
                      22
                      23
                      24
                      25
                      26
                      27
                      28                                                     5
                                                                                              COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                               Case No. 5:23-cv-04496
                              Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 6 of 15




                       1
                       2
                       3
                       4
                       5
                       6
                       7
                       8
                       9
                      10
                      11
RUSS AUGUST & KABAT




                      12
                      13
                                  14.     Also in 2008, Dr. Raleigh founded ItsOn Inc., which licensed Headwater’s intellectual
                      14
                           property and implemented Headwater’s technology into software and services that expanded cellular
                      15
                           service plan offerings and improved device and data management capabilities. The tools and
                      16
                           technologies delivered by ItsOn allowed carriers to implement Headwater’s technologies in end-user
                      17
                           devices—such as mobile phones and tablets—opening up new business models while also providing
                      18
                           greater flexibility to carriers and device manufacturers, allowing them to reduce costs while
                      19
                           simultaneously improving their devices and services.
                      20
                                  15.     The Headwater technologies disclosed in the Asserted Patents laid the groundwork for
                      21
                           many of the infringing features and functionalities that help device manufacturers, wireless carriers,
                      22
                           and customers reduce data usage and network congestion, extend battery life by decreasing power
                      23
                           consumption, and enable users to stay connected.
                      24
                                                                     THE PARTIES
                      25
                                  16.     Plaintiff Headwater was formed in 2011 and has been in continued existence and
                      26
                           operation since that time. Headwater is a Texas limited liability company organized under the laws of
                      27
                           Texas, with its headquarters at 110 North College Avenue, Suite 1116, Tyler, Texas 75702.
                      28                                                    6
                                                                                              COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                               Case No. 5:23-cv-04496
                              Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 7 of 15




                       1          17.     Headwater is the owner of U.S. Patent No. 9,198,076, entitled “Wireless end-user

                       2 device with power-control-state-based wireless network access policy for background applications,”
                       3 which issued on November 24, 2015. A copy of the ’076 patent is attached to this complaint as Exhibit
                       4 1.
                       5          18.     Headwater is the owner of U.S. Patent No. 10,749,700, entitled “Device-assisted

                       6 services for protecting network capacity,” which issued on August 18, 2020. A copy of the ’700 patent
                       7 is attached to this complaint as Exhibit 2.
                       8          19.     On information and belief, Defendant Motorola Mobility LLC is a limited liability

                       9 company organized and existing under the laws of the State of Delaware and registered to do business
                      10 in California. Motorola may be served through its registered agent, C T Corporation System, at 330
                      11 N. Brand Boulevard, Suite 700, Glendale, California 91203. On information and belief, Defendant
RUSS AUGUST & KABAT




                      12 Motorola Mobility LLC maintains offices at 3325 Scott Boulevard, Santa Clara, California 95054.
                      13 Further, on information and belief, Defendant Motorola Mobility LLC maintains offices at 1000
                      14 Enterprise Way Sunnyvale, CA 94089. On information and belief, Motorola is indirectly a wholly-
                      15 owned subsidiary of Lenovo Group, Ltd.
                      16          20.     On information and belief, Defendant Lenovo (United States) Inc. is a wholly owned

                      17 subsidiary of Lenovo Group Ltd. and is a corporation organized under the laws of the State of
                      18 Delaware, with its principal place of business at 1009 Think Place, Building One, Morrisville, North
                      19 Carolina 27560. On information and belief, Defendant Lenovo (United States) Inc. maintains offices
                      20 at 3325 Scott Boulevard, Santa Clara, California 95054.
                      21          21.     On information and belief, Defendant Lenovo Group Ltd. is organized under the laws

                      22 of the People’s Republic of China, with its key operations center at Lenovo HQ East, Building 1, No.
                      23 10 Courtyard Xibeiwang East Road, Haidian District, Beijing 100094 and with a registered office at
                      24 23rd Floor, Lincoln House, Taikoo Place, 979 King’s Road, Quarry Bay, Hong Kong S.A.R. of China.
                      25          22.     On information and belief, Defendant Motorola Mobility LLC, a subsidiary of Lenovo

                      26 Group Limited, is involved in the development and sale of hardware and software relating to mobile
                      27 products, such as smartphones. The Accused Instrumentalities are mobile electronic devices, including
                      28                                                   7
                                                                                            COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                             Case No. 5:23-cv-04496
                              Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 8 of 15




                       1 mobile phones and tablets used, offered for sale, sold, and/or imported by Defendants in the United
                       2 States.
                       3           23.     Joinder is proper under 35 U.S.C. § 299. The allegations of infringement contained

                       4 herein are asserted against the Defendants jointly, severally, or in the alternative, arise, at least in part,
                       5 out of the same series of transactions or occurrences relating to Defendants’ manufacture, use, sale,
                       6 offer for sale, and importation of the same Accused Products. On information and belief, Defendants
                       7 are part of the same corporate family of companies, and the infringement allegations arise, at least in
                       8 part, from Defendants’ collective activities with respect to Defendants’ Accused Products. Questions
                       9 of fact common to Defendants will arise in the action, including questions relating to the structure and
                      10 operation of the Accused Products and Defendants’ infringing acts.
                      11                                      JURISDICTION AND VENUE
RUSS AUGUST & KABAT




                      12           24.     This action arises under the patent laws of the United States, Title 35 of the United

                      13 States Code.
                      14           25.     This Court has original subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

                      15 1338(a).
                      16           26.     This Court has personal jurisdiction over Defendants in this action because Defendants

                      17 have committed acts of infringement within this District giving rise to this action, have a regular and
                      18 established place of business in this District, and have established minimum contacts with this forum
                      19 such that the exercise of jurisdiction over Defendants would not offend traditional notions of fair play
                      20 and substantial justice. Defendants, directly and/or through subsidiaries or intermediaries, conducts its
                      21 business extensively throughout Illinois, by shipping, distributing, offering for sale, selling, and
                      22 advertising its products and/or services in Illinois, regularly do business or solicit business, engage in
                      23 other persistent courses of conduct, and/or derive substantial revenue from products and/or services
                      24 provided to individuals in Illinois, and commit acts of infringement of Headwater’s patents in this
                      25 District by, among other things, making, using, importing, offering to sell, and selling products that
                      26 infringe the asserted patents, including without limitation the Defendants tablets and phones accused
                      27 of infringement in this case.
                      28                                                        8
                                                                                                  COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                                   Case No. 5:23-cv-04496
                              Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 9 of 15




                       1           27.    Defendants, directly and/or through subsidiaries or intermediaries, have purposefully

                       2 and voluntarily placed one or more products and/or services in the stream of commerce that practice
                       3 the Asserted Patents with the intention and expectation that they will be purchased and used by
                       4 consumers in Illinois. These products and/or services have been and continue to be purchased and
                       5 used in Illinois.
                       6           28.    Venue as to Motorola Mobility LLC and Lenovo (United States) Inc. is proper in this

                       7 District under 28 U.S.C. §§ 1391 and 1400(b).
                       8           29.    Defendant Motorola Mobility LLC maintains offices at 3325 Scott Boulevard, Santa

                       9 Clara, California 95054.
                      10           30.    Defendant Motorola Mobility LLC maintains offices at 1000 Enterprise

                      11 Way Sunnyvale, CA 94089.
RUSS AUGUST & KABAT




                      12           31.    Defendant Lenovo (United States) Inc. maintains offices at 3325 Scott Boulevard,

                      13 Santa Clara, California 95054.
                      14           32.    On information and belief, Motorola Mobility LLC and Lenovo (United States) Inc.

                      15 have transacted business in this District and have committed acts of direct and indirect infringement
                      16 in this District by, among other things, making, using, importing, offering to sell, and selling products
                      17 that infringe the Asserted Patents.
                      18           33.    Venue as to Lenovo Group Ltd. is proper in this District under 28 U.S.C. §§

                      19 1391(c)(3); In re HTC Corp., 889 F.3d 1349 (Fed. Cir. 2018).
                      20           34.    Defendant Lenovo Group Ltd. is a foreign corporation organized under the laws of

                      21 China, with a principal place of business in China.
                      22                 COUNT 1 – CLAIM FOR INFRINGEMENT OF THE ’076 PATENT

                      23           35.    Headwater incorporates by reference each of the allegations in the above paragraphs

                      24 and further alleges as follows:
                      25           36.    On November 24, 2015, the United States Patent and Trademark Office issued U.S.

                      26 Patent No. 9,198,076, entitled “Wireless end-user device with power-control-state-based wireless
                      27 network access policy for background applications.” Ex. 1.
                      28                                                      9
                                                                                               COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                                Case No. 5:23-cv-04496
                              Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 10 of 15




                       1           37.     Headwater is the owner of the ’076 patent with full rights to pursue recovery of

                       2 royalties for damages for infringement, including full rights to recover past and future damages.
                       3           38.     The written description of the ’076 patent describes in technical detail each limitation

                       4 of the claims, allowing a skilled artisan to understand the scope of the claims and how the
                       5 nonconventional and non-generic combination of claim limitations is patently distinct from and
                       6 improved upon what may have been considered conventional or generic in the art at the time of the
                       7 invention.
                       8           39.     Headwater and its predecessors in interest have satisfied the requirements of 35 U.S.C.

                       9 § 287(a) with respect to the ’076 patent, and Headwater is entitled to damages for Defendants’ past
                      10 infringement.
                      11           40.     Defendants have directly infringed (literally and equivalently) and induced others to
RUSS AUGUST & KABAT




                      12 infringe the ’076 patent by making, using, selling, offering for sale, or importing products that infringe
                      13 the claims of the ’076 patent and by inducing others to infringe the claims of the ’076 patent without
                      14 a license or permission from Headwater, such as for example instructing users of the Accused
                      15 Instrumentalities to perform the patented methods of the ’076 patent.
                      16           41.     On information and belief, Defendants use, import, offer for sale, and sell certain

                      17 infringing products in the United States. The Accused Instrumentalities are, for example, mobile
                      18 electronic devices, including mobile phones and tablets.
                      19           42.     For example, attached as Exhibit 3 is a chart setting forth a description of Defendants’
                      20 infringement claim 1 of the ’076 patent.
                      21           43.     Defendants also knowingly and intentionally induce and contribute to infringement of

                      22 the ’076 patent in violation of 35 U.S.C. §§ 271(b) and 271(c).
                      23           44.     Defendants communicated with Headwater and ItsOn personnel beginning at least as

                      24 early as 2009, discussing potential business arrangements, as well as the integration of ItsOn software
                      25 technologies. Through these meetings, Defendants learned of Headwater’s patented technologies,
                      26 including pending applications and issued patents.
                      27
                      28                                                     10
                                                                                                COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                                 Case No. 5:23-cv-04496
                              Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 11 of 15




                       1           45.    Despite this knowledge, Defendants have continued to actively encourage and instruct

                       2 its customers to use and integrate the Accused Instrumentalities in ways that directly infringe the ’076
                       3 patent. Defendants have done so knowing and intending that their customers will commit these
                       4 infringing acts. Defendants also continued to make, use, offer for sale, sell, and/or import the Accused
                       5 Instrumentalities, despite their knowledge of Headwater’s patent, thereby specifically intending for
                       6 and inducing its customers to infringe the ’076 patent through the customers’ normal and customary
                       7 use of the Accused Instrumentalities.
                       8           46.    Defendants have infringed multiple claims of the ’076 patent, including independent

                       9 claim 1. By way of example only, the normal and customary use of the mobile phones and tablets
                      10 made, used, sold, offered for sale and/or imported by Defendants infringes an exemplary claim of the
                      11 ’076 patent, as in the description set forth in Exhibit 3, which Headwater provides without the benefit
RUSS AUGUST & KABAT




                      12 of information about the Accused Instrumentalities obtained through discovery.
                      13           47.    Defendants have known how the Accused Instrumentalities are made and have known,

                      14 or have been willfully blind to the fact, that making, using, offering to sell, and selling the Accused
                      15 Instrumentalities to their customers, would constitute willful infringement of the ’076 patent. Those
                      16 products imported into and sold within the United States include, without limitation, Motorola tablets
                      17 and phones.
                      18           48.    Defendants have induced, and continue to induce, infringement of the ’076 patent by

                      19 actively encouraging others (including its customers) to use, offer to sell, sell, and import the Accused
                      20 Instrumentalities. On information and belief, these acts include providing information and instructions
                      21 on the use of the Accused Instrumentalities; providing information, education and instructions to its
                      22 customers; providing the Accused Instrumentalities to customers; and indemnifying patent
                      23 infringement within the United States.
                      24           49.    Headwater has been damaged by Defendant’s infringement of the ’076 patent and is

                      25 entitled to damages as provided for in 35 U.S.C. § 284, including reasonable royalty damages.
                      26                 COUNT 2 – CLAIM FOR INFRINGEMENT OF THE ’700 PATENT
                      27
                      28                                                     11
                                                                                               COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                                Case No. 5:23-cv-04496
                              Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 12 of 15




                       1           50.     Headwater incorporates by reference each of the allegations in the above paragraphs

                       2 and further alleges as follows:
                       3           51.     On August 18, 2020, the United States Patent and Trademark Office issued U.S. Patent

                       4 No. 10,749,700, entitled “Device-assisted services for protecting network capacity.” Ex. 2.
                       5           52.     Headwater is the owner of the ’700 patent with full rights to pursue recovery of

                       6 royalties for damages for infringement, including full rights to recover past and future damages.
                       7           53.     The written description of the ’700 patent describes in technical detail each limitation

                       8 of the claims, allowing a skilled artisan to understand the scope of the claims and how the
                       9 nonconventional and non-generic combination of claim limitations is patently distinct from and
                      10 improved upon what may have been considered conventional or generic in the art at the time of the
                      11 invention.
RUSS AUGUST & KABAT




                      12           54.     Headwater and its predecessors in interest have satisfied the requirements of 35 U.S.C.

                      13 § 287(a) with respect to the ’700 patent, and Headwater is entitled to damages for Defendants’ past
                      14 infringement.
                      15           55.     Defendants have directly infringed (literally and equivalently) and induced others to

                      16 infringe the ’700 patent by making, using, selling, offering for sale, or importing products that infringe
                      17 the claims of the ’700 patent and by inducing others to infringe the claims of the ’700 patent without
                      18 a license or permission from Headwater, such as for example instructing users of the Accused
                      19 Instrumentalities to perform the patented methods of the ’700 patent.
                      20           56.     On information and belief, Defendants use, import, offer for sale, and sell certain

                      21 infringing products in the United States. The Accused Instrumentalities are, for example, mobile
                      22 electronic devices, including mobile phones and tablets.
                      23           57.     For example, attached as Exhibit 4 is a chart setting forth a description of Defendants’

                      24 infringement claim 1 of the ’700 patent.
                      25           58.     Defendants also knowingly and intentionally induce and contribute to infringement of

                      26 the ’700 patent in violation of 35 U.S.C. §§ 271(b) and 271(c).
                      27
                      28                                                     12
                                                                                                COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                                 Case No. 5:23-cv-04496
                              Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 13 of 15




                       1           59.    Defendants communicated with Headwater and ItsOn personnel beginning at least as

                       2 early as 2009, discussing potential business arrangements, as well as the integration of ItsOn software
                       3 technologies. Through these meetings, Defendants learned of Headwater’s patented technologies,
                       4 including pending applications and issued patents.
                       5           60.    Despite this knowledge, Defendants have continued to actively encourage and instruct

                       6 its customers to use and integrate the Accused Instrumentalities in ways that directly infringe the ’700
                       7 patent. Defendants have done so knowing and intending that their customers will commit these
                       8 infringing acts. Defendants also continued to make, use, offer for sale, sell, and/or import the Accused
                       9 Instrumentalities, despite their knowledge of Headwater’s patent, thereby specifically intending for
                      10 and inducing its customers to infringe the ’700 patent through the customers’ normal and customary
                      11 use of the Accused Instrumentalities.
RUSS AUGUST & KABAT




                      12           61.    Defendants have infringed multiple claims of the ’700 patent, including independent

                      13 claim 1. By way of example only, the normal and customary use of the mobile phones and tablets
                      14 made, used, sold, offered for sale and/or imported by Defendants infringes an exemplary claim of the
                      15 ’700 patent, as in the description set forth in Exhibit 4, which Headwater provides without the benefit
                      16 of information about the Accused Instrumentalities obtained through discovery.
                      17           62.    Defendants have known how the Accused Instrumentalities are made and have known,

                      18 or have been willfully blind to the fact, that making, using, offering to sell, and selling the Accused
                      19 Instrumentalities to their customers, would constitute willful infringement of the ’700 patent. Those
                      20 products imported into and sold within the United States include, without limitation, Motorola tablets
                      21 and phones.
                      22           63.    Defendants have induced, and continue to induce, infringement of the ’700 patent by

                      23 actively encouraging others (including its customers) to use, offer to sell, sell, and import the Accused
                      24 Instrumentalities. On information and belief, these acts include providing information and instructions
                      25 on the use of the Accused Instrumentalities; providing information, education and instructions to its
                      26 customers; providing the Accused Instrumentalities to customers; and indemnifying patent
                      27 infringement within the United States.
                      28                                                     13
                                                                                               COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                                Case No. 5:23-cv-04496
                             Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 14 of 15




                       1          64.     Headwater has been damaged by Defendant’s infringement of the ’700 patent and is

                       2 entitled to damages as provided for in 35 U.S.C. § 284, including reasonable royalty damages.
                       3                                        RELIEF REQUESTED

                       4 WHEREFORE, Headwater prays for the following relief:
                       5      A. A judgment in favor of Headwater that Defendants have infringed the Asserted Patents, and

                       6          that the Asserted Patents are valid and enforceable;

                       7      B. A judgment and order requiring Defendants to pay Headwater past and future damages arising

                       8          out of Defendants’ infringement of the Asserted Patents in an amount no less than a reasonable

                       9          royalty, costs, expenses, and pre- and post-judgment interest for its infringement of the

                      10          asserted patents, as provided under 35 U.S.C. § 284;

                      11      C. A permanent injunction prohibiting Defendants from further acts of infringement of the
RUSS AUGUST & KABAT




                      12          Asserted Patents;

                      13      D. A judgment and order requiring Defendants to provide an accounting and to pay supplemental

                      14          damages to Headwater, including, without limitation, pre-judgment and post-judgment

                      15          interest;

                      16      E. A judgement that Defendants’ infringement is willful and enhanced damages and fees as a

                      17          result of that willfulness under 35 U.S.C. § 284

                      18      F. A finding that this case is exceptional under 35 U.S.C. § 285, and an award of Headwater’

                      19          reasonable attorney’s fees and costs; and
                      20      G. Any and all other relief to which Headwater may be entitled.

                      21                                    DEMAND FOR JURY TRIAL

                      22          Headwater, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

                      23 any issues so triable by right.
                      24
                      25    DATED: August 30, 2023                        Respectfully submitted,

                      26                                                  By: /s/ Marc Fenster
                                                                                  Marc Fenster
                      27
                      28                                                  Marc Fenster (CA State Bar No. 181067)
                                                                           14
                                                                                             COMPLAINT FOR PATENT INFRINGEMENT
                                                                                                              Case No. 5:23-cv-04496
                           Case 4:23-cv-04496-KAW Document 1 Filed 08/30/23 Page 15 of 15



                                                             Email: mfenster@raklaw.com
                       1                                     Reza Mirzaie (CA State Bar No. 246953)
                                                             Email: rmirzaie@raklaw.com
                       2                                     Brian Ledahl (CA State Bar No. 186579)
                       3                                     Email: bledahl@raklaw.com
                                                             Ben Wang (CA State Bar No. 228712)
                       4                                     Email: bwang@raklaw.com

                       5                                     Paul Kroeger (CA State Bar No. 229074)
                                                             Email: pkroeger@raklaw.com
                       6                                     Neil A. Rubin (CA State Bar No. 250761)
                                                             Email: nrubin@raklaw.com
                       7                                     James S. Tsuei (CA State Bar No. 285530)
                                                             Email: jtsuei@raklaw.com
                       8                                     Philip Wang (CA State Bar No. 262239)
                                                             Email: pwang@raklaw.com
                       9                                     Amy Hayden (CA State Bar No. 287026)
                                                             Email: ahayden@raklaw.com
                      10                                     Jason M. Wietholter (CA State Bar No. 337139)
                      11                                     Email: jwietholter@raklaw.com
                                                             Kristopher Davis (CA State Bar No. 329627)
RUSS AUGUST & KABAT




                      12                                     Email: kdavis@raklaw.com
                                                             Dale Chang (CA State Bar No. 248657)
                      13                                     Email: dchang@raklaw.com
                                                             RUSS AUGUST & KABAT
                      14                                     12424 Wilshire Boulevard, 12th Floor
                                                             Los Angeles, California 90025
                      15                                     Telephone: (310) 826-7474
                                                             Facsimile: (310) 826-9226
                      16
                                                             Attorneys for Plaintiff,
                      17                                     Headwater Research LLC

                      18
                      19
                      20
                      21
                      22
                      23
                      24
                      25
                      26
                      27
                      28                                      15
                                                                              COMPLAINT FOR PATENT INFRINGEMENT
                                                                                               Case No. 5:23-cv-04496
